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UNITED STATES OF AMERICA
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                                     lniB FEB :21 p ~-~eW Haven, Connecticut
COUNTY OF NEW HAVEN
                                    U.S. DIS "f ICT COURT
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                                         - AFFIDA 1
       I, Jay M. Salvatore, a Special Agent with the Drug Enforcement Administration, being duly

sworn, deposes and states:

        1.     I am employed as a Special Agent with the Drug Enforcement Administration

("DEA") and have been so employed since December 2004.

       2.      I am currently assigned to the DEA Hartford Resident Office ("HRO"). I have

attended and successfully completed the Drug Enforcement Administration's Basic Agent

Training School. In addition, I have attended other specialized drug training schools conducted

by the DEA; have testified on several occasions in grand jury proceedings, where my testimony

has contributed to the indictment of numerous individuals; have been involved with the execution

of state and federal search and seizure warrants where controlled substances have been seized;

have participated in several investigations in which federally authorized wire interception orders

were issued; and I have participated in numerous arrests of individuals charged with federal and/or

state narcotics violations.   I am currently assigned to conduct drug and money laundering

investigations at the DEA's HRO.

       3.      In my current position with the DEA HRO, my duties include investigating

violations of the Connecticut General Statutes and the Controlled Substances Act, including, but

not limited to, investigating those drug traffickers and organizations responsible for diverting and

distributing pharmaceuticals and other drugs within the State of Connecticut. Due to the abuse

and trafficking of opioid-based pharmaceutical pills and the correlated abuse and trafficking of



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heroin and fentanyl, the DEA HRO is also actively conducting investigations into individuals and

organizations involved with the distribution ofheroin and fentanyl.

        4.      Prior to being employed by the DEA, I was a sworn Police Officer in the Town of

Wethersfield, CT for approximately three and a half years. As a certified Police Officer in the

State of Connecticut, this Affiant conducted numerous investigations of violations of the law,

including narcotics violations.

        5.     This Affiant has directed and coordinated electronic surveillance, controlled

purchases of drugs, physical surveillance, and undercover activities as well as debriefed and

managed confidential sources. This Affiant is familiar with the manner in which individuals

obtain, finance, store, manufacture, transport, and distribute their illegal drugs.

       6.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 251 0(7), in that I am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Title 18, United States

Code, Section 2516. This affidavit relates to an investigation, in which I have been involved, of

two heroin overdose deaths that occurred in Enfield, Connecticut on or about Friday, August 26,

2016 and on or about Thursday, October 27, 2016. In particular, I have been investigating

Christopher BARRETO (with a date of birth (xx/xx/1989 that is known to me) for violations of 21

U.S.C. § § 841(a)(l) and (b)(l)(C) (possession with intent to distribute and the distribution of,

heroin and fentanyl).

       7.      I make this affidavit in support of an application for a search and seizure warrant

for the cellular telephone contents and records of a cellular telephone identified as follows:

                   a. One (1) white Samsung cellular telephone with Model Number SM-

                        G550Tl and FCC ID A3LSMG550T, currently in DEA custody, and seized



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                       from BARRETO incident to his arrest on August 10, 2017. Based on the

                       information gained throughout the course of this investigation, as well as

                       my training and experience, it is my belief that this telephone was utilized

                       by CHRISTOPHER BARRETO in furtherance ofhis possession with intent

                       to distribute and distribution of heroin and fentanyl, in violation of 21

                       U.S.C. §§ 84l(a)(l) and 84l(b)(l)(C). This cellular telephone will be

                       referred to herein as the "Subject Telephone."

        8.     This affidavit does not set forth all of the facts and evidence that I have gathered

during the course of the investigation of this matter. Rather, this affidavit is intended to show

merely that there is sufficient probable cause for the search warrant, and does not set forth all of

my knowledge about this matter. The statements contained in this affidavit are based, in part, on

information provided by Special Agents and Task Force Officers of the DEA, as well as other

officers from state and local agencies, including but not limited to the Enfield Police Department

("EPD"), on law enforcement officers' review of seized electronic evidence (including stored text

messages), and on the experience and training of the Affiant.

                                             BACKGROUND

       9.      The underlying investigation into BARRETO began with the untimely drug-

overdose death of a 35-year old man, hereafter referred to as VICTIM #1, and the untimely drug-

overdose death of a 36-year old man, hereafter referred to as VICTIM #2. VICTIM #1, who was

residing with his mother at the time of his death at a private residence in Enfield, Connecticut, was

found deceased in his bedroom by his mother's live-in boyfriend, Witness #1, during the morning

hours of August 26, 2016. While responding EPD units were conducting their initial investigation

into the events surrounding VICTIM #1 's death, investigators took possession of various items,



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which included VICTIM #1 's cellular telephone, multiple wax envelopes stamped "Diesel,"

approximately six of which were not used and contained suspected heroin.

         10.      VICTIM #2, who was residing at a private residence in Enfield, Connecticut, was

found outside the residence unresponsive. VICTIM #2 was transported to Johnson Memorial

Hospital where VICTIM #2 died. The scene was initially treated as a medical emergency by the

EPD resulting in no evidence seized at the time; however, VICTIM #2 's mother later provided

related evidence to the EPD.

                                            PROBABLE CAUSE

         11.      After the death of the two victims, the EPD and the DEA conducted an extensive

investigation into their deaths. 1 As a result of this investigation, law enforcement officers

determined that VICTIM #1 and VICTIM #2 were provided with heroin and/or fentanyl by an

individual identified as CW-1 who was utilizing a cellular telephone with the number (860) 707-

3652 to facilitate that distribution

         12.      On April27, 2017, members of the DEA Hartford Resident Office (HRO) arrested

CW-1 pursuant to a federal arrest warrant charging him with violating Title 21 USC 841 (a) (1)

and 841 (b)(1 )(C) (possession with the intent to distribute, and distribution of, a mixture and

substance containing a detectable amount of heroin, a Schedule I controlled substance and

fentanyl, a Schedule II controlled substance). During CW-1 's arrest, this Affiant seized CW-1 's

cell phone pursuant to the federal search and seizure warrant.

         13.     After he was arrested and with the benefit of representation, CW-1 came into the

USAO-CT for three proffer sessions in May and June of 2017. In his proffer sessions, CW-1

described how the source from whom CW -1 had been buying narcotics for the longest period of


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  This investigation was detailed in the affidavit in support of the complaint and arrest warrant for BARRETO
signed by United States Magistrate Judge Sarah A. L. Merriam on August 7, 2017.

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time was someone he identified as "CHRIS." CW-1 described CHRIS as a smaller Hispanic male

with tattoos and said that CHRIS drove a black Acura MDX SUV with Connecticut license plates.

CW -1 said that he had gone up to the front door of CHRIS's house to buy heroin/fentanyl, but had

not actually been inside his house.

       14.     Utilizing Google Maps, CW -1 identified the residence as 63 Standish Street,

Hartford, CT. CW-1 also said that CHRIS had previously lived on Collins Street, Hartford, CT.

CHRIS was listed in CW-1 's phone contacts as "BEAT CHRIS" and CW-1 stated that he would

contact CHRIS by telephone to set up narcotics transactions. CW -1 also picked CHRIS out of a

photo line-up and law enforcement agents identified him as Christopher BARRETO (with a DOB

of xx/xx/1989 that is known to me).      On the back of BARRETO's photo, CW-1 positively

identified the photograph with his signature and wrote "I know this person as Chris from Hartford.

He is the person I bought Heroin from, on Standish Street and Collins Street."

       15.     CW-1 admitted to purchasing illegal drugs from CHRIS off and on again, and

sometimes every day for approximately four to five years.        CW-1 said that the amount he

purchased from CHRIS ranged from one bundle ( 10 bags) to one or two stacks (one stack equals

100 bags). CHRIS charged CW-1 $25- $30 a bundle. CW-1 also said that CHRIS had multiple

stamps identifying his product. CW-1 stated that the stamps "diesel" "ko" and "call of duty" were

the bags that contained fentanyl. CW-1 stated that he had once overdosed from one of the "ko"

bags he had purchased from CHRIS.

       16.     As a result of the data retrieved from CW-1 's phone pursuant to the federal search

warrant, law enforcement officers were able to identify multiple phone numbers for "BEAT

CHRIS": (1) 860-318-6962 and (2) 860-248-1839. The second number was the most recent

number used by "BEAT CHRIS" in CW-1 's phone. Utilizing 860-248-1839, the Hartford Police



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Department conducted an in-house search, which revealed one result. On March 4, 2017, officers

from the Hartford Police Department responded to 640 Broad Street, 2nd Floor in Hartford on a

domestic breach of peace incident. One of the individuals involved in this incident was identified

as Christopher BARRETO of 66 Standish Street, Hartford, CT, who had also provided police

officers with phone number 860-248-1839.

        17.     After further examination of the data retrieved from CW-1 's phone, law

enforcement officers located approximately 1,100 text messages between CW-1 and BARRETO

beginning in April of2016 and continuing until April2017. Nearly all ofthe text conversations

between CW-1 and BARRETO had to do with the purchase of illegal drugs. Through an analysis

of the messages, TFO Devanney was able to determine that CW-1 had purchased approximately

375 bundles ofheroin/fentanyl from BARRETO throughout the year. This was determined using

the amounts listed within the messages and if there were no amounts mentioned, then it was

assumed that CW -1 had purchased a minimum of one (1) bundle. The text messages also indicate

that BARRETO knew he was selling fentanyl because there were numerous references to "Fire"

throughout the text messages he sent to CW-1 and the reference to "Fire" is commonly used by

drug dealers to refer to fentanyl.

        18.    During the previously mentioned proffer interviews, CW -1 explained that he

believed that he had purchased the fentanyl from BARRETO that ultimately resulted in the fatal

overdoses of both victims.      This was supported by the text messages between CW-1 and

BARRETO. On August 7, 2017, Judge Merriam signed an arrest warrant for BARRETO's arrest

based on the federal complaint and a search warrant for the telephone associated with the 860-248-

1839 number, referred to herein as the "LG Phone."

        19.    When BARRETO was arrested on the charges in this case on August 10, 2017,



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surveillance was first established outside of his house in the morning. BARRETO exited shortly

after and entered a 2008 Black Acura MDX, which is the car that CW-1 had described BARRETO

using to service narcotics customers.

        20.    BARRETO was followed by law enforcement to a Wendy's restaurant near his

house and arrested by law enforcement officers in the parking lot of the restaurant. During a search

incident to arrest, the affiant located and seized a black LG flip cell phone from BARRETO's right

front jean pocket, which was subsequently seized by officers-the LG Phone. SA Salvatore, while

utilizing his Government phone, dialed 860-248-1839, which resulted with the LG phone

beginning to ring. Upon this confirmation, the LG phone was seized pursuant to the federal search

warrant.

       21.     During the search of the black Acura incident to arrest, the Affiant located and

seized a white Samsung phone, which was on top of the center console-the Subject Telephone.

This phone was taken into DEA custody.

       22.     Law enforcement officers returned to the house with the food that BARRETO had

purchased for his girlfriend and obtained consent from BARRETO's girlfriend to search the house.

Law enforcement officers then recovered some 2,000 individually wrapped bags of heroin in the

kitchen of the ~ouse. BARRETO's cell phone was also seized and has since been reviewed.

       23.     Although agents were only able to obtain a partial extraction of BARRETO's LG

Phone, there were a number oftext messages with narcotics customers. Those text messages begin

in May of 2017 and continue until BARRETO was arrested in August of 201 7. The text messages

are explicit in their references to drugs and include messages like "I just did 12 of those KTMs all

at once ... almost nothing barely feel high. Good news though .. I hit a vein n it gave me almost

no swelling" from a customer on June 16, 2017 and "bratha man its rob what do you have im real



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sick and I need something strong" from a customer on August 9, 2017;" and there are also multiple

messages in which BARRETO coordinates arranging to meet up with customers.

       24.     An indictment for BARRETO was returned by a federal grand jury on December

7, 2017 charging BARRETO with one count of possession with intent to distribute and distribution

of heroin and fentanyl. See Docket Entry No. 31.

       25.     In reviewing the evidence in preparation for a potential trial in this matter, law

enforcement officers determined that, based on BARRETO's prior history and the fact that he uses

multiple phones at one time, there is also likely to be evidence of BARRETO's narcotics

trafficking activities contained on the Subject Telephone. CW-1 has stated that BARRETO used

more than one telephone at a time when he was buying drugs from him and this Affiant knows,

from his training and experience, that drug dealers regularly use more than one telephone at a time

to communicate with narcotics customers.

       26.     Accordingly, as detailed below, the Affiant has reason to believe and does believe

that there is likely to be other evidence of BARRETO's narcotics trafficking activities contained

on the Subject Telephone and thus is requesting permission to search that telephone.

       INFORMATION REGARDING CELLULAR TELEPHONES AND
                 THE REQUESTED SEARCH WARRANTS

       27.     Based on my training, experience, I know that the aforementioned Subject

Telephone may have some or all of the capabilities that allow it to serve as a wireless telephone,

digital camera and video recorder, portable media player, global positioning system ("GPS")

navigation device, a hand-held radio, and a personal digital assistant ("PDA"). In my training and

experience, examining data stored on devices of this type can uncover, among other things,

evidence that reveals or suggests who possessed or used the particular device, as well as evidence

relating to co-conspirators with whom the device was in contact.


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              28.       I request permission to seize and search the Subject Telephone for evidence

relating the unlawful distribution, and the possession with intent to distribute, narcotics, including

any evidence of communications between BARRETO and other potential co-conspirators involved

in the distribution of narcotics as well as other criminal acts. Based on my training and experience,

and as set forth in this affidavit, I know wireless telephones are used to communicate efforts to

conduct criminal activities and it is likely that the Subject Telephone was used by BARRETO to

communicate with potential co-conspirators in the unlawful distribution of narcotics. Based on

my training and experience and information obtained throughout the course of this investigation I

know that narcotics dealers often maintain several phones to communicate with customers and

thus this telephone is also likely to contain evidence of BARRETO's narcotics trafficking

activities.

                29.    Furthermore, based on my training and experience, I know that internet

browsing history in wireless phones can contain evidence of text communications between co-

conspirators who distribute narcotics, or conspire to do so. Also based on my training and

experience, I know that internet browsing history in wireless phones can contain evidence of

internet searches for locations and addresses used for storing and distributing narcotics. Also based

on my training and experience, wireless phones may contain videos and images of co-conspirators,

possible locations to ship, receive, or store narcotics, the quantity of narcotics and/or shipping

packages within which the narcotics are concealed, and firearms, as firearms are generally

considered tools of the trade in narcotics activity.      Specifically, based on my training and

experience, I know the following information tends to exist on wireless telephones, including

phones used by those involved in the distribution of narcotics:




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               a.      the telephone number, ESN number, IMEI number, other identifying
                       number, serial number, and SIM card number of said telephone;
               b.      the numbers, digits, stored messages (voice and/or text), letters, symbols,
                       data, information, and images stored in the memory of said device;
               c.      descriptions of time, date, locations, items, or events showing or tending to
                       show the commission of, or connecting or tending to connect a person to,
                       the above-described crimes;
               d.      any and all records, however created or stored, which tend to demonstrate
                       ownership and use of the phone, and identification bearing the name or
                       photograph of any person, telephone-books, address books, date books,
                       calendars, personal files, and photographs of persons contained in the
                       phone;
               e.      any and all evidence showing or tending to show the identity of the maker
                       or user of the data and information contained in the phone, such as
                       passwords, sign-on codes, and program design;
               f.      GPS coordinates, waypoints, destinations, addresses, and location search
                       parameters associated with GPS navigation software;
               g.      saved searches, locations, and route history in the memory of said devices;
               h.      internet browsing history, to include, internet searches in the memory of
                       said device; and
               1.      Images and videos in the memory of said device.

       30.     It is also requested that the Court authorize the retrieval of the above described

stored electronic information by printing said stored electronic information or otherwise

reproducing said stored electronic information, by converting said stored electronic information,

or by copying said stored electronic information into storage in another device. I am aware that in

some cases the software or equipment necessary to analyze wireless telephones in this manner is

not readily available to law enforcement during the course of the execution of a search and/or

arrest warrant. Further, turning on wireless phones in a non-laboratory setting, where there is no

')ammer" active or radio shielding devices, permits additional signals to be received by the phone

and thereby alters the data present in the phone at the time of seizure. Therefore, it is often

necessary to remove a seized phone to a laboratory in order to preserve the data therein from being

corrupted.




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        31.    It is also requested that the warrant be deemed executed once the Subject Telephone

has been seized in the manner described above, and that further analysis ofthe images be permitted

at any time thereafter.

                          ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       32.     The warrant applied for would authorize the seizure of electronic storage media or,

potentially, the copying of electronically stored information, all under Rule 41 (e)(2)(B).

       33.     As described above and in Attachment A, this application seeks permission to

search and seize things that the subject telephone might contain, in whatever form they are stored.

Based on my knowledge, training, and experience, I know that electronic devices can store

information for long periods of time. Even when a user deletes information from a device, it can

sometimes be recovered with forensics tools. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

       34.     Searching for the evidence described in Attachment A may require a range of data

analysis techniques. In some cases, agents and computer analysts may be able to conduct carefully

targeted searches that can locate evidence without requiring a time-consuming manual search

through unrelated materials that may be commingled with criminal evidence. In other cases,

however, such techniques may not yield the evidence described in the warrant. Criminals can

mislabel or hide information, encode communications to avoid using key words, attempt to delete

information to evade detection, or take other steps designed to frustrate law enforcement searches

for information. These steps may require agents and law enforcement or other analysts with

appropriate expertise to conduct more extensive searches, such as scanning storage areas unrelated

to things described in Attachment A, or perusing all stored information briefly to determine



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whether it falls within the scope of the warrant. In light of these difficulties, the DEA, or other

law enforcement agency, intends to use whatever data analysis techniques appear necessary to

locate and retrieve the evidence described in Attachment A.




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                                         CONCLUSION


       35.     I submit that this affidavit supports probable cause for a search warrant to search

 the Subject Telephone for the items described in Attachment A as evidence, fruits, and

 instrumentalities of the crimes of the unlawful distribution of heroin and fentanyl, in violation of

 21 U.S.C. §§ 841(a)(1) and 841(b)(l)(C).




Subscribed and sworn to before me this 23rd day of
February, 2018

  /s/ Joan G. Margolis
JOAN G.        LIS
UNITED ,'' A · MAGISTRATE JUDGE




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                                      ATTACHMENT A

       All records contained in the Subject Telephone to include the following:

       1.     the telephone number, ESN number, serial number, and SIM card number
              of the Subject Telephone;

       2.     the numbers, digits, stored messages (voice and/or text), letters, symbols,
              data, information, and images stored in the memory of the subject
              telephone;

       3.     descriptions of time, date, locations, items, or events showing or tending
              to show the commission of, or connecting or tending to connect a person
              to, the above-described crimes (violations of21 U.S.C. §§ 841(a)(l) and
              (b)(l)(C));

       4.     any and all records, however created or stored, which tend to demonstrate
              ownership and use of the device/s, and identification bearing the name or
              photograph of any person, telephone-books, address books, date books,
              calendars, personal files, and photographs of persons contained in the
              subject telephone;

       5.     any and all evidence showing or tending to show the identity of the maker
              or user of the data and information contained in the subject telephone,
              such as passwords, sign-on codes, and program design;

       6.     GPS coordinates, waypoints, destinations, addresses, and location search
              parameters associated with GPS navigation software;

       7.     saved searches, locations, and route history in the memory of said subject
              telephone;

       8.     internet browsing history, to include, internet searches in the memory of
              the subject telephone;

       9.     images and videos in the memory of the subject telephone; and,

       10.    evidence of user attribution showing who used or owned the subject
              telephone at the time the things described in this warrant were created,
              edited, or deleted, such as logs, phonebooks, saved usernames and
              passwords, documents, and browsing history.

       As used above, the terms "records" and "information" include all ofthe foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including
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any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form.

       It is specifically authorized that stored electronic information, data, information and images

contained in the above-described subject telephone may be reproduced by printing said stored

electronic information or otherwise reproducing said stored electronic information, by converting

said stored electronic information, or by copying said stored electronic information into storage in

another device/s.
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                                      ATTACHMENT A

       All records contained in the Subject Telephone to include the following:

       l.     the telephone number, ESN number, serial number, and SIM card number
              ofthe Subject Telephone;

       2.     the numbers, digits, stored messages (voice and/or text), letters, symbols,
              data, information, and images stored in the memory of the subject
              telephone;

       3.     descriptions of time, date, locations, items, or events showing or tending
              to show the commission of, or connecting or tending to connect a person
              to, the above-described crimes (violations of21 U.S.C. §§ 841(a)(l) and
              (b)(l)(C));

       4.     any and all records, however created or stored, which tend to demonstrate
              ownership and use of the device/s, and identification bearing the name or
              photograph of any person, telephone-books, address books, date books,
              calendars, personal files, and photographs of persons contained in the
              subject telephone;

       5.     any and all evidence showing or tending to show the identity of the maker
              or user of the data and information contained in the subject telephone,
              such as passwords, sign-on codes, and program design;

       6.     GPS coordinates, waypoints, destinations, addresses, and location search
              parameters associated with GPS navigation software;

       7.     saved searches, locations, and route history in the memory of said subject
              telephone;

       8.     internet browsing history, to include, internet searches in the memory of
              the subject telephone;

       9.     images and videos in the memory of the subject telephone; and,

       10.    evidence of user attribution showing who used or owned the subject
              telephone at the time the things described in this warrant were created,
              edited, or deleted, such as logs, phonebooks, saved usernames and
              passwords, documents, and browsing history.

       As used above, the terms "records" and "information" include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including
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any form of computer or electronic storage (such as flash memory or other media that can store

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said stored electronic information, or by copying said stored electronic information into storage in

another device/s.
